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 1                                    CERTIFICATE OF SERVICE

 2           I hereby certify that on the date below, I caused the foregoing document to be

 3   electronically filed with the Clerk of the Court using the CM/ECF system which will send

 4   notification of the filing to all counsel of record.

 5

 6   DATED: June 21, 2018                            ORRICK, HERRINGTON & SUTCLIFFE LLP

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     TUTTERROW DECLARATION IN
                                                                          ORRICK, HERRINGTON & SUTCLIFFE LLP
     SUPPORT OF MOTION FOR                            -6-                       701 Fifth Avenue, Suite 5600
     TEMPORARY RESTRAINING ORDER                                               Seattle, Washington 98104-7097
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